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                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF KENTUCKY
                            BOWLING GREEN DIVISION

JAMIAHIA KENNEDY and WILLOW                   )
NEAL, on Behalf of Themselves                 )
Individually and All Others Similarly         )
Situated                                      )
                                              )
       PLAINTIFFS                             )
                                              )
v.                                            )   CIVIL ACTION NO. 1:24-cv-16-GNS
                                              )
                                              )
KENTUCKY DEPARTMENT OF JUVENILE )
JUSTICE                                       )
                                              )
SERVE:                                        )
       Larry Chandler, Interim Commissioner )
       1025 Capital Center Drive, 3rd Floor   )
       Frankfort, KY 40601                    )
                                              )
and                                           )
                                              )
ADAIR COUNTY YOUTH DETENTION                  )
CENTER                                        )
                                              )
SERVE:                                        )
       Tonya Burton, Superintendent           )
       401 Appleby Drive                      )
       Columbia, KY42728                      )
                                              )
and                                           )
                                              )
KENTUCKY CABINET FOR HEALTH AND )
FAMILY SERVICES                               )
                                              )
SERVE:                                        )
       Eric Friedlander, Secretary            )
       275 E. Main St.                        )
       Frankfort, KY 40621                    )
                                              )
and                                           )
                                              )
KERRY HARVEY, Individually and in his         )
capacity as Secretary of the Kentucky Justice )


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and Public Safety Cabinet                        )
125 Holmes Street                                )
Frankfort, KY 40601                              )
                                                 )
and                                              )
                                                 )
VICKI REED, Individually and in her capacity )
as Commissioner of the Department of Juvenile )
Justice                                          )
1025 Capital Center Drive, 3rd Floor             )
Frankfort, KY 40601                              )
                                                 )
and                                              )
                                                 )
GEORGE SCOTT, Individually and in his            )
capacity as Executive Director Office of         )
Program Operations Services                      )
1025 Capital Center Drive, 3rd Floor             )
Frankfort, KY 40601                              )
                                                 )
and                                              )
                                                 )
JAMES SWEATT, II, Individually and in his )
capacity as Executive Director, Office of        )
Detention, Department of Juvenile Justice        )
1025 Capital Center Drive, 3rd Floor             )
Frankfort, KY 40601                              )
                                                 )
and                                              )
                                                 )
DAVID KAZEE, DIVISION DIRECTOR                   )
1025 Capital Center Drive, 3rd Floor             )
Frankfort, KY 40601                              )
                                                 )
and                                              )
                                                 )
TONYA BURTON, Individually and in her            )
capacity as Superintendent of Adair County       )
Youth Detention Center                           )
401 Appleby Drive                                )
Columbia, KY 42728                               )
                                                 )
and                                              )
                                                 )
CHRISTOPHER RAKES, Individually and in )
his capacity as Juvenile Facility Superintendent )


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of Adair County Youth Detention Center             )
401 Appleby Drive                                  )
Columbia, KY42728                                  )
                                                   )
       DEFENDATS                                   )


                                          COMPLAINT


                                        INTRODUCTION

   1. Plaintiffs file this action in their individual capacities and on behalf of all children held in

isolation in the Adair County Youth Detention Center (“Detention Center”) where they were

subjected to abuse and neglect on a scale so unconscionable it led to intervention by the General

Assembly.

   2. Defendants’ conduct violates clearly established, longstanding, national (and

international) standards for detaining and incarcerating adults, much less children.

   3. Defendants' treatment of Plaintiffs and other class members is intolerable in a civilized

society. In fact, the children were subjected to conditions that violate the Geneva Convention and

the Uniform Code of Military Justice.

   4. Defendants engaged in the conduct described below under color of the law of the

Commonwealth of Kentucky and Adair County.

   5. The offenses described below resulted from Defendants’ failure to employ qualified

persons for positions of authority, to properly or conscientiously train and supervise the conduct

of such persons after their employment, and to promulgate appropriate operating policies and

procedures either formally or by custom to protect the constitutional rights of Kentucky children.

   6. Defendants’ conduct was intentional or grossly negligent, or indicated active malice

toward Plaintiffs and the class, or constitutes a total and reckless disregard for and indifference to



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Plaintiffs’ constitutional rights, justifying an award of punitive damages in addition to the actual

damages which Plaintiffs and the class are entitled to recover.

    7. Such treatment has been regularly perpetrated by Defendants and there are potentially

hundreds of members of this class.

    8. There are questions of law and fact in this case that are common to all members of the

class.

    9. Plaintiffs' claims are typical of those of the class, and they will fairly and adequately

protect the interests of this class.

                                   JURISDICTION AND VENUE

    10. Plaintiffs, and all other similarly situated, seek declaratory and injunctive relief, and

actual and punitive damages from Defendants under the Civil Rights Act of 1871, 42 U.S.C.

§1983, for gross and unconscionable violations of the rights, privileges, and immunities

guaranteed them by the Fourth, Eighth, and Fourteenth Amendments to the Constitution of the

United States.

    11. This Court has jurisdiction over these claims pursuant to the provisions of 28 U.S.C.

§1331 and §1343.

    12. Jurisdiction over Plaintiffs’ state law claims is conferred upon this Court by 28 U.S.C.

§1367, which provides supplemental jurisdiction over state law claims so related to federal law

claims that one case or controversy exists for Article III purposes.

    13. The constitutional deprivations alleged below were committed in Adair County,

Kentucky which is within the jurisdiction of the United States District Court for the Western

District of Kentucky, Bowling Green Division. Venue in this District is proper pursuant to 28

U.S.C. §1391.



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                                         CLASS ACTION

   14. Plaintiffs bring this action as a class action pursuant to Rules 23(b)(1), (2) and (3) of the

Federal Rules of Civil Procedure.

   15. The class consists of all individuals who were and are held in isolation in the Detention

Center where they were subjected to abuse and neglect, including being held in isolation,

deprived of educational instruction, denied basic hygiene and showers, and denied prescribed

medications as more fully set forth below.

   16. This class also consists of girls who were denied feminine hygiene products while

menstruating and whose bodies were exposed to male view while being held under these

conditions.

   17. Plaintiffs and other members of the class were subjected to such treatment despite the

absence of any legitimate penological interest or probable cause.

   18. Plaintiffs will fairly and adequately protect the interests of all class members. They are

members of the class and their claims are typical of the claims of all class members.

   19. Plaintiffs were harmed and de-humanized by the treatment accorded them and will

aggressively pursue the interests of the entire class.

   20. Plaintiffs’ interest in obtaining injunctive relief and actual and punitive damages for the

violations of their constitutional rights and privileges are consistent with and not antagonistic of

those of any other person within the class.

   21. Given the circumstances of their detention, as detailed below, Plaintiffs allege that

Defendants regularly hold children in isolation, deprive them of educational instruction, deprive

them of basic hygiene and showers, and withhold prescribed medications.

   22. Given the circumstances of their detention, as detailed below, Plaintiffs allege that



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Defendants regularly exposed girls’ naked bodies to members of the opposite sex, either through

conducting the forcible removal of clothing or the withholding clothing while in view of

employees and other detainees.

   23. Such abuses violate the Fourth, Eighth, and Fourteenth Amendments to the Constitution

of the United States, 42 U.S.C. §1983, and clearly established law.

   24. Plaintiffs and the members of the class are entitled to declaratory and injunctive relief and

an award of compensatory and punitive damages.

   25. A class action is superior to other available methods for the fair and efficient

adjudication of this controversy because:

       a)      A multiplicity of suits with consequent burden on the courts and Defendants

               should be avoided.

       b)      It would be virtually impossible for all class members to intervene as parties-

               plaintiffs in this action.

       c)      Upon adjudication of Defendants' liability, claims of the class members can be

               determined by this Court.

                                            PARTIES

   26. Plaintiff Jamiahia Kennedy (“Kennedy”) is a resident of the Commonwealth of Kentucky

and was held in the Adair County Youth Detention Center in 2022.

   27. Plaintiff Willow Neal (“Neal”) is a resident of the Commonwealth of Kentucky and was

held in the Adair County Youth Detention Center in 2022.

   28. Defendant Kentucky Department of Juvenile Justice is responsible for the conditions of

confinement in youth detention facilities, for the establishment of policies either formally or by

custom and practice, and for the employment, training, supervision and conduct of the officers



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and employees of Kentucky’s youth detention facilities. The Department of Juvenile Justice is

made a Defendant to this action for the purpose of declaratory and injunctive relief only.

    29. Defendant Adair County Youth Detention Center (“Detention Center”) is charged with

the care, custody, and supervision of incarcerated youth. The Detention Center is made a

Defendant to this action for the purpose of declaratory and injunctive relief only.

    30. Defendant Cabinet for Health and Family Services (“CHFS”) is charged with the care,

custody, and supervision of children in Kentucky’s foster-care system.

    31. Defendant Kerry Harvey (“Harvey”) is the Secretary of the Kentucky Justice and Public

Safety Cabinet and is responsible for the conditions of confinement in youth detention facilities,

for the establishment of policies either formally or by custom and practice, and for the

employment, training, supervision and conduct of the officers and employees of Kentucky’s

youth detention facilities. Harvey is named in his individual and official capacities.

    32. Defendant Vicki Reed (“Reed”) was Commissioner of the Department of Juvenile Justice

and was responsible for the conditions of confinement in youth detention facilities, for the

establishment of policies either formally or by custom and practice, and for the employment,

training, supervision and conduct of the officers and employees of Kentucky’s youth detention

facilities. Reed is named in her individual and official capacities.

    33. Defendant George Scott (“Scott”) is Executive Director of Office of Program Operations

Services in the Department of Juvenile Justice and is responsible for the conditions of

confinement in youth detention facilities, for the establishment of policies either formally or by

custom and practice, and for the employment, training, supervision and conduct of the officers

and employees of Kentucky’s youth detention facilities. Scott is named in his individual and

official capacities.



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   34. Defendant David Kazee (“Kazee) is Division Director, Office of Detention in the

Department of Juvenile Justice and is responsible for the conditions of confinement in youth

detention facilities, for the establishment of policies either formally or by custom and practice,

and for the employment, training, supervision and conduct of the officers and employees of

Kentucky’s youth detention facilities. Kazee is named in his individual and official capacities.

   35. Defendant James Sweatt, II (“Sweatt”) is Executive Director, Office of Detention in the

Department of Juvenile Justice and is responsible for the conditions of confinement in youth

detention facilities, for the establishment of policies either formally or by custom and practice,

and for the employment, training, supervision and conduct of the officers and employees of

Kentucky’s youth detention facilities. Sweatt is named in his individual and official capacities.

   36. Tonya Burton (“Burton”) is the Superintendent of the Adair County Youth Detention

Center and is responsible for the care, custody, and supervision of youth at the Detention center,

the conditions of confinement in the Detention Center, for the establishment of policies either

formally or by custom and practice, and for the employment, training, supervision and conduct

of its officers and employees. Burton is named in her individual and official capacities.

   37. Christopher Rakes (“Rakes”) is the Juvenile Facility Superintendent of the Adair County

Youth Detention Center and is responsible for the care, custody, and supervision of youth at the

Detention Center, the conditions of confinement in the Detention Center, for the establishment of

policies either formally or by custom and practice, and for the employment, training, supervision

and conduct of its officers and employees. Rakes is named in his individual and official

capacities.




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                                 FACTUAL ALLEGATIONS
                              Adair County Youth Detention Center

    38. The Adair County Youth Detention Center (“Detention Center”) is one of eight juvenile

detention centers operated by the Department of Juvenile Justice.

    39. Upon information and belief, the Detention Center houses pre- and post-conviction

youthful offenders, as well as non-offenders in the custody of the Cabinet for Health and Family

Services.

    40. The Detention Center is, and has been, chronically understaffed, frequently operating with

only 5 employees while housing approximately 40 children.

    41. Defendants regularly held children in lockdown for days or weeks at a time.

    42. While locked down, children in the Detention Center would eat, sleep, and defecate in

their cells.

    43. Staff at the Detention Center would withhold prescribed medications from children as a

form of punishment.

    44. Staff at the Detention Center restricted children’s access to showers and other basic

hygiene needs.

    45. Children in the Detention Center were not provided any educational instruction.

    46. Staff at the Detention Center frequently used excessive and unnecessary force or restraint

holds.

    47. Defendant Burton and other staff regularly falsified incident reports in an effort to

conceal the suffering inflicted on children at the Detention Center.

    48. Defendant Burton and other staff restricted children’s access to medical providers.

    49. Defendant Burton lied to medical staff about the conditions of children in the facility.

    50. Upon information and belief, plumbing in the Detention Center was not maintained or


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intentionally cut off.

    51. Upon information and belief, male staff regularly conducted cell checks on girls detained

without clothing.

    52. Medical providers reported the abuse and neglect occurring at the Detention Center to

officials with the Department of Juvenile Justice, including Defendants Reed, Scott, Sweatt, and

Kazee.

    53. On at least one occasion in the summer of 2022, Defendant Reed visited the Detention

Center.

    54. During her visit, medical staff asked Defendant Reed to observe the conditions of the

isolation cells in the Detention Center.

    55. Defendant Reed did not visit the isolation cells because she was too busy.

                                   Plaintiff Jamiahia Kennedy

    56. Plaintiff Jamiahia Kennedy was confined to the Adair County Youth Detention Center

from August to December 2022.

    57. During her four months in the Detention Center, Kennedy was kept in an isolation cell.

    58. During her four months at the Detention Center, Kennedy was provided access to a

shower approximately fifteen times.

    59. Kennedy resorted to using her bra to wash her body.

    60. On one occasion Kennedy was allowed to shower, she was accompanied by two male

police officers.

    61. Following a suicide attempt, Kennedy was moved to a padded cell, where male

employees cut off her clothing.

    62. Kennedy was held in the padded cell for approximately 2 months.



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   63. The padded cell did not have a working toilet, nor did it have a bed.

   64. Because the toilet did not work, urine and excrement overflowed into the cell.

   65. Although initially provided with a suicide smock, Defendant Burton later removed the

smock and did not provide Kennedy with any clothing or shower access for approximately

twelve days.

   66. On several occasions, Kennedy asked Defendant Tonya Burton for feminine hygiene

products, and Burton refused.

   67. While at the Detention Center, Kennedy did not receive any educational instruction.

   68. Although Kennedy has been diagnosed with serious mental health conditions, while at

the Detention Center, Kennedy did not receive any mental health treatment.

   69. In November 2022, Detention Center staff withheld prescribed medications from

Kennedy and other detainees as collective punishment.

                                      Plaintiff Willow Neal

   70. Plaintiff Willow Neal was confined to the Detention Center from November 10 to

December 15, 2022.

   71. At the time of her detention, she was 17 years old and seven months pregnant.

   72. Medical providers advised Defendant Burton and other staff that Neal should not be

locked down in an isolation cell.

   73. Neal was held in an isolation cell throughout her time at the Detention Center.

   74. Neal’s cell was infested with insects.

   75. Neal made several requests for cleaning supplies to clean her cell, all of which were

denied.

   76. Over the course of her detention, Neal received approximately twelve showers.



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   77. Over the course of her detention, Neal was let out of her cell to take a walk

approximately five times.

   78. Instead of educational instruction, Neal received workbooks to complete on her own.

   79. Neal did not receive any school credit for completing the workbooks.

   80. Neal has also been diagnosed with serious mental health conditions.

   81. While Neal was in the Detention Center, she did not receive any mental health care, nor

did she receive any prescribed medications.

                              Other Members of the Putative Class

   82. In the summer of 2022, medical staff reported increasing alarm over the treatment of a

girl whose mental and physical health rapidly deteriorated while in an isolation cell without

running water and frequently without lighting.

   83. Another child was held in an isolation cell with the door’s window covered and a Spanish

version of “Baby Shark” playing on a loop.

   84. Another child received a punishment of 24-hours’ isolation but was arbitrarily held in

isolation for several days.

   85. Kennedy and Neal both observed a girl who spent days soaked in menstrual blood while

Detention Center staff told her she was “nasty” and “smelled like fish.”

                                       LEGAL CLAIMS

                                          COUNT I
                                  Constitutional Deprivations
                                       42 U.S.C. §1983

   86. Defendants were acting under the color of state law when they detained children at the

Adair County Youth Detention Center.

   87. Defendants deprived Plaintiffs of their rights under the Fourth, Eighth, and Fourteenth



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Amendments to the United States Constitution.

   88. The abuses to which Plaintiffs and the class were subjected, as described above, was the

result of Defendants’ failure to adequately train and supervise employees, and failure to

promulgate or enforce appropriate policies to maintain the safety of children in their custody.

   89. Defendants are final policymakers and decisionmakers for the Detention Center and had

oversight responsibility for ensuring that:

       a)      Children are not exposed to a serious and excessive risk to their health or safety;

       b)      the staff are trained to prevent, detect, and respond to abuse;

       c)      children can safely report abuse;

       d)      officers, employees, and contractors are adequately trained and supervised;

       e)      the facility is adequately and properly staffed with resources necessary to protect

               children from abuse;

       f)      children are provided with educational opportunities;

       g)      children are provided with necessary medical and mental healthcare;

       h)      children are provided safe and sanitary living quarters;

       i)      children are provided regular access to showers and basic personal hygiene needs;

       j)      children are provided with daily access to recreational activity;

       k)      children are free from cruel and unusual punishment and excessive force.

   90. Defendants failed to hire, promulgate, review, and train staff on procedures

necessary to prevent, detect, and respond to abuse and ensure that children are not exposed to a

serious and excessive risk to their health or safety.

   91. Defendants’ deliberate indifference to the rights of Adair County Youth Detention

Facility’s vulnerable residents, failure to appropriately supervise residents and staff, failure to



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adequately train staff, failure to promulgate and enforce appropriate policies, and adherence to

unconstitutional policies, customs, practices, and procedures directly led to the violation of

Plaintiffs’ constitutional rights.

    92. Defendants were on actual or constructive notice that the lack of training and inadequate

staffing and supervision were likely to result in the violation of the constitutional rights of

children housed in the Adair County Youth Detention Facility.

    93. As a result of the foregoing failures, and the other institutional failures identified in this

Complaint, the inadequacy of Defendants’ policies, customs, practices, and procedures were so

likely to result in the violation of constitutional rights that Defendants can reasonably be said to

have been deliberately indifferent to a serious and excessive risk to the health and safety of

Plaintiffs.

    94. As a direct and proximate result of the aforementioned conduct, Plaintiffs and others

similarly situated suffered physical harm, emotional distress, and mental anguish.

                                                COUNT II
                                                Negligence

    95. Pursuant to KRS 605.100, Defendants had a ministerial duty to provide children in the

Detention Center a program designed and operated in such a manner as to rehabilitate, train,

develop, and educate the children.

    96. Pursuant to KRS 15A.065, Defendants had a ministerial duty to provide children in the

Detention Center with mental health services and access to an ombudsman to whom they may

report concerns.

    97. Pursuant to KRS 15A.067, Defendants had a ministerial duty to provide children in the

Detention Center with an appropriate education and, upon their release, forward educational

records to the district in which the student resides.


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   98. Defendants breached the above duties to children detained in the Adair County Youth

Detention Center.

   99. As a result of Defendants’ breach, Plaintiffs and the class suffered physical harm,

emotional distress, and mental anguish.

       WHEREFORE, Plaintiffs and the class they represent request:

       A.     That this action proceed as a class action under Fed. R. Civ. P. 23(b)(1-3);

       B.     A trial by jury;

       C.     An award of actual and punitive damages to Plaintiffs and all members of the

              class;

       D.     A declaratory judgment deeming unconstitutional the conditions of confinement

              for youth at the Adair County Youth Detention Center, and permanently enjoining

              Defendants from operating the Detention Center in an unconstitutional manner;

              and

       E.     An award of attorney fees, costs and expenses incurred in this action, and interest

              on all sums awarded at the maximum rate permitted by law, including but not

              limited to 42 U.S.C. §1988 and KRS 412.070; and

                                             Respectfully submitted,


                                             /s/ Laura E. Landenwich
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                                             and

                                             JOHN FRIEND


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